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                                           STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                      DIVISION OF SOCIAL JUSTICE
ATTORNEY GENERAL                                                                        CIVIL RIGHTS BUREAU



                                                                 September 10, 2021


      By Email
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      In Re: New York City Policing During Summer 2020 Demonstrations
      Dear Dara,
              Plaintiffs have reviewed Defendants’ productions in response to Plaintiffs’ First
      Consolidated Sets of Interrogatories and Requests for Production of Documents (the
      “Requests”), which Plaintiffs served on Defendants on March 25, 2021. Although Defendants
      claim to have completed production of all documents responsive to the Requests, Plaintiffs have
      identified a number of significant remaining deficiencies, including numerous categories of
      documents missing from Defendants’ productions. Plaintiffs write to request an immediate
      conferral regarding the deficiencies summarized below with persons from the Law Department,
      New York City Police Department (NYPD), and/or Office of the Mayor (OTM) who have
      personal knowledge of the nature and extent of Defendants’ searches for documents (including
      ESI) responsive to the Requests.
                 I.    Defendants’ Responses and Objections to the Requests

              Following several conferrals among the parties in late May and early June, Defendants
      served their Second Amended Responses and Objections to the Requests on June 18, 2021. In
      numerous responses, Defendants claimed that they were “not currently withholding documents,”
      that they were “continuing to search for additional documents,” and they would supplement their
      response on a rolling basis by no later than July 31, 2021.
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      Defendants subsequently provided a series of rolling productions in response to the
Requests1, as summarized in the table below:
    Date of Production          No. Docs                 Bates Range
    April 7, 2021               104                      DEF000001-DEF000498
    May 26, 2021                517                      DEFVID_00000001-DEFVID_00000517
    June 30, 2021               2,312                    DEF0000499-DEF0029778
    July 1, 2021                78                       DEF0029779-DEF0031033
    July 8, 2021                113                      DEF0031034-DEF0046134
    July 15, 2021               10,001                   DEF0046135-DEF0075579
    July 22, 2021               29,957                   DEF0075580-DEF0157434
    July 30, 2021               32,638                   DEF0157572-DEF0281483
    August 4, 2021              631                      DEF0281484-DEF0282114
    August 14, 2021             1,725                    DEF0282115-DEF0286985
    August 14, 2021             42,924                   Bates numbers forthcoming2


        Simultaneously, and pursuant to an order of the Court, Defendants produced periodic
“algorithm” letters3 that provided updates to Plaintiffs regarding the search progress made by
Defendants. In these letters, Defendants represented that they were reviewing documents
produced to the Department of Investigation (“DOI”) and the New York State Office of the
Attorney General (“OAG”), and described their “ongoing” searches for other documents
responsive to the Requests. Defendants’ final letter, on July 29, 2021, stated that they had
“completed [their] review of the 45,000 documents that we previously listed were in [their]
possession, and they have all been produced.” Defendants described the following documents as
having been produced:
         Administrative Bulletins regarding the curfew, unusual disorder guides, MAPC
         training memos, requests for department helicopters . . .various patrol guide
         sections and FINEST messages, including messages regarding displaying a shield
         and interacting with the press, gear distribution policies; Chief of Department arrest
         statistics from May 28, 2020 to June 7, 2020; Information regarding TACTICS
         course certifications; internal analyses of arrests, summonses, and injuries; various
         spreadsheets from Intel regarding the May-June 2020 protests; various video and
         radio recordings, including certain radio audio from the Mott Haven protests;
         medical division statistics; . . . a list of Operation commanders, borough
         commanders and incident commanders for May 28, 2020 through June 20, 2020; .

1
  Defendants have separately provided individual productions of documents pertaining to witnesses being deposed
by Plaintiffs. Many of these documents are separately responsive to the Requests with a bates range of
DEF_DEP_000001-DEF_DEP000907, but are not included in the summary table below.
2
  Defendants produced some responsive files held by the Civilian Complaint Review Board (“CCRB”) in native
format pursuant to an August 9, 2021 Order from the Court, but Defendants did not apply bates numbers to these
documents. Plaintiffs have applied bates numbers pursuant to the parties’ production specifications stipulation, with
color images produced as JPEGs to preserve image integrity, and will be re-producing the CCRB documents to
Defendants.
3
  Defendants sent five such letters: June 21, 2021; July 1, 2021; July 8, 2021; July 19, 2021; and July 29, 2021.

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         . . documents relied upon in the creation of the Corporation Counsel report,
         including training documents, old and current patrol guide sections, operations
         reports, protest deployment numbers and muster point locations, arrest statistics
         from previous years, various non-NYPD documents regarding trauma and mental
         health, bereavement leave[;] . . . Intel Daily briefings from June 2020, operations
         recaps from June 2020, Intel Situation Reports, tactical plans, reports of damage to
         property, TARU video from protests after July 2020, social media information
         related to the protests; [and] documents received from the tapes and records
         department, which includes 911 reports for all 83 protest locations, audio and video
         records from the protests and incident recreations from the protests, where they
         were completed.
Defendants did not indicate that any further search for or review of documents was ongoing,
other than that they were “in the process of collecting ESI material.” When Plaintiffs have raised
concerns about, or asked questions regarding, non-communications ESI collections and searches
in previous meet and confers and communications, Defendants have taken the position that
Plaintiffs are not entitled to know what collections and searches have been conducted.
         II.     Plaintiffs’ Review of Defendants’ Productions

        Defendants purport to have completed their production of all responsive documents. But
Plaintiffs’ review of the productions has revealed that the vast majority of the documents that
Defendants have produced to date constitute mere reproductions of documents produced by the
NYPD in 2020 to the New York City Department of Investigation (“DOI”) and the New York
State Office of the Attorney General (“OAG”), or documents recently provided directly from the
CCRB. To wit, the table below summarizes the source of all documents within Defendants’
productions to date:
                                                                                Percent of
    Source                                                            No. Docs Production
    Files Produced by NYPD in 2020 to OAG                                38,707                         32.2%4
    Files Produced by NYPD in 2020 to DOI & DOI
    Investigative Files                                                    31,553                        26.2%
    IAB Files Produced to DOI & OAG                                         1,725                         1.4%
    Open and Closed CCRB Investigative Files                               43,003                        35.8%
    Files from NYPD Deputy Commissioner, Public
    Information                                                             3,027                         2.5%
    OTHER                                                                     863                          .7%
    TARU Video Footage                                                      1,148                          .9%


4
  Based on a metadata comparison, nearly 79,000 (approximately 65%) of all files Defendants have produced with
bates numbers in this litigation are duplicative of documents that either the NYPD or CCRB previously produced to
the OAG during its pre-suit investigation between June and December 2020. While this table lists 32.2% were
produced to OAG, some pre-suit documents collected by OAG were also duplicates of documents in the IAB,
CCRB, and DOI productions listed separately in this table.

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        As summarized above, more than 95% of the documents that Defendants have produced
to date with bates numbers are either a reproduction of files already provided to government
agencies in 2020, TARU videos, or the recently produced open and closed CCRB files. Among
the remaining files, most are from the NYPD Office of the Deputy Commissioner for Public
Information. Only approximately 863 (less than 1%) appear to be from other sources that
Defendants have searched independently from their collection of documents already gathered
and produced in 2020.
        This raises several questions. First, why did it take Defendants more than 5 months to re-
produce to Plaintiffs the approximately 70,000 documents that they had already collected and
produced in 2020? And to what extent have Defendants engaged in searches for documents
(including ESI) that are responsive to the Requests, but which were not previously produced to
DOI or OAG?
      It is apparent to Plaintiffs that the answer to the latter of these questions is that
Defendants have failed to engage in any serious search for such documents in responding to the
Requests. That is clear, because Plaintiffs have identified a large number of categories of
documents described specifically in the Requests that are not in Defendants’ productions, and to
which Defendants have not specifically objected, or accounted for in their algorithm letters.
        While many or most of the documents previously produced to DOI and OAG are clearly
responsive and relevant to the claims and defenses at issue in this litigation, they alone do not
constitute a complete response to the Requests. 5 By way of example, whereas DOI requested
certain limited subsets of operational documents pertaining to some protests (see, e.g.,
DEF_000164094—requesting arrest reports, TRI reports, command logs, medical treatment of
prisoner forms), Plaintiffs’ Requests in this litigation are far broader and have specifically
identified multiple categories of responsive documents created by NYPD during the protests. In
addition, Plaintiffs’ requests include protests that occurred after the production of documents to
DOI and OAG, and so those productions will obviously not include documents pertaining to
such protests. Because the majority of Defendants’ productions are simply repackaging of prior
collections of documents gathered in Fall 2020, they omit clearly responsive documents. 6
       And so Plaintiffs have identified a large number of categories of documents that have not
been included in Defendants’ production. Specifically, Plaintiffs’ review indicates that
Defendants have not produced at least the following categories of responsive documents:


5
  Defendants produced 10 separate DOI requests made to NYPD dated between June 5, 2020 and November 22,
2020 at DEF_00164088-DEF00164107, DEF_000228533-DEF_00228534.
6
  Indeed, Defendants’ July 8, 2021 algorithm letter underscores this point, stating that Defendants’ forthcoming
production would include certain categories of responsive documents for periods only covering portions of the dates
listed on schedule A. For example, Arrest Reports (6/8-7/31), Summonses (5/29-7/29), TRIs (6/8-7/31), zOLPA
arrests (6/21-7/31), MTP forms (5/28-6/8). Defendants have not supplemented the production to include documents
for all protests listed on Schedule A, instead relying on what had been previously provided to DOI and OAG.



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RFP      Specific Documents Requested
No.
3        Documents concerning policies, procedures, directives, and training materials relating
         to any and all subjects described in Request No. 1 promulgated during or following
         any protest events in the past 10 years concerning the deaths of persons in police
         custody or whose deaths were otherwise caused by an Officer, including, but not
         limited to, Ramarley Graham, Akai Gurley, Eric Garner, Delrawn Small, and Sean
         Bell.
4        Documents concerning policies, procedures, directives, and training materials relating
         to any and all subjects described in Request No. 1 promulgated during or following
         protests regarding the 2004 Republican National Convention or any of the lawsuits
         related to the policing of those protests.
8(h)-(i) All videos, including TARU videos, bodyworn camera videos, and Aviation Unit
         videos; All audio recordings, including audio recordings of NYPD Citywide and other
         radio communications.
8(j)     SPRINT reports related to recorded communications (and documents sufficient to
         decipher such SPRINT reports).
8(m)     Command Log(s) from each arrest processing location to which a person arrested in
         connection with a Protest was brought, including any Mass Arrest Processing Center
         (“MAPC”).
8(n)     MAPC intake and processing records.
8(o)     Documents sufficient to identify the number of such Arrests voided by the NYPD.
8(p)     For any Officer who was injured during any Protest, any related Line of Duty injury
         paperwork, including but not limited to AIDED Report(s), witness statement(s), and
         medical records.
8(q)     For any non-Officer injured related to a Protest, all records related to such injury,
         including any AIDED Report, Medical Treatment of Prisoner Form, Central Booking
         Medical Screening Form, Ambulance Call Report, Computer Aided Dispatch, FDNY
         Pre-Hospital Care Report, and other documents related to such injury.
9(c)-    Online Booking System Arrest Worksheet (PD244-159) (including
(d)      handwritten/scratch version); Arrest Report – Supplement (PD244-157).
9(e)     Prisoner Pedigree Cards (PD244-092).
9(f)     Arrest processing photographs, including digital movement slips and photographs
         taken as part of NYPD large-scale or mass arrest processing.
9(g)     Mass Arrest Pedigree Label (244-093).
9(i)     Complaint Report Worksheet (313-152A) and Omniform Complaint Revision
         (including handwritten/scratch versions).
9(j)     Online Prisoner Arraignment (“OLPA”) Reports.
9(k)-(l) Property Clerk Invoice (521-141); Records reflecting the disposition of property
         recorded in each such Property Clerk Invoice.
9(q)-(r) Desk Appearance Ticket (PD 260-121); Desk Appearance Ticket Investigation Sheets
         (360-091).


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10   Stop Reports.
17   Documents concerning Officers receiving discipline for misconduct occurring during
     the Protests, or who have been recommended to receive discipline for such
     misconduct.
18   Documents concerning communications from May 25, 2020 to present between and
     among any and all NYPD personnel and personnel of the Office of the Mayor,
     including Mayor de Blasio or his designees, and the Mayor’s Office of Criminal
     Justice, regarding NYPD’s planning for and response to any protest anticipated to
     take place in New York City following the death of George Floyd, including but not
     limited to the Protests.
19   Documents concerning communications about any protest anticipated to take place in
     New York City following the death of George Floyd, including but not limited to the
     Protests from May 25, 2020 to present, by Defendants Mayor de Blasio,
     Commissioner Shea, Chief Monahan, and all Borough Commanders, and Deputy
     Commissioner of Intelligence John Miller.
20   Documents received by, referenced, or reviewed by Mayor de Blasio, Commissioner
     Shea, and/or Chief Monahan, Borough Commanders, Deputy Commissioner of
     Intelligence John Miller, and Incident Commanders documenting occurrences and/or
     interactions between Officers and civilians at any and all Protest Locations from May
     28, 2020, to present.
25   Documents concerning reports, reviews, communications, discussions, assessments,
     and analyses, including but not limited to after-action reviews, Sentinel Event
     reviews, postmortem reviews, and project debriefs, concerning the NYPD’s
     deployment of officers to protests related to Occupy Wall Street (2011-2012) and in
     response to the death of Eric Garner (2014-2015).
26   Documents concerning the decision by then-District Judge Richard Sullivan
     concerning defendant Monahan’s actions as reported in Dinler v. City of New York,
     No. 04 Civ. 7921 (RJS) (JCF), 2012 U.S. Dist. LEXIS 141851, at *27-39 (S.D.N.Y.
     Sept. 30, 2012), including but not limited to discipline of defendant Monahan,
     changes in policies, directives, orders, and/or instructions concerning group arrests.
27   Documents concerning the jury’s verdict against defendant Monahan in Abdell v. City
     of New York, No. 05 Civ. 8453 (RJS) (S.D.N.Y.), including but not limited to
     discipline of defendant Monahan.
28   Documents concerning the payment of the punitive damages awarded in Abdell v.
     City of New York, No. 05 Civ. 8453 (RJS) (S.D.N.Y.).
30   Documents concerning any complaint made to, or investigation by the NYPD or
     CCRB, of any NYPD officer displaying a “white power” symbol during any of the
     Protests.
31   Documents concerning any complaint made to or investigation by the NYPD or
     CCRB, of any NYPD officer for making racist statements or for racist conduct,
     including but not limited to, racial profiling.
35   Documents concerning any discipline of any NYPD officer for use of racist language
     during the Protests.
36   Unusual Incident reports (UF-49s), after-action reports, to/from memoranda, and
     Mass Arrests Reports, made or maintained at any time, concerning the following
     protests:

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          a) World Economic Forum protests in 2002;
          b) Republican National Convention protests in 2004;
          c) Occupy Wall Street in 2011 and 2012;
          d) Black Lives Matter protests between 2013 and 2020;
          e) Pro-Trump car caravans on November 1, 2020.
37        Documents concerning complaints, made at any time, alleging NYPD excessive force
          and use of racial epithets during policing of each protest listed in Request No. 36.


        Crucially, in addition to these missing categories of documents, it is unclear whether
Defendants have sufficiently searched for and collected documents that may additionally be
responsive but which were not included in the 2020 productions to DOI and OAG. Because
NYPD’s productions of documents to DOI and OAG were made in batches during the protest
period and only up to the final months of 2020, they also would not contain documents that have
subsequently been created or identified that are responsive but which were not produced to DOI
or OAG, or which pertain to protests from Schedule A occurring after these productions were
made in 2020. This is particularly relevant for disciplinary records, IAB investigation records,
and CCRB records, but other types of documents such as after-action reports or any other
documents looking back at the protests would not have been in any production made in 2020. 7
To that end, we need Defendants to confirm whether all documents responsive to the below
Requests have been searched for and produced:


RFP       Specific Documents Requested
No.
8(a)      intelligence reports, threat assessments, and information compiled and/or reviewed in
          advance of and during the Protests, including all Documents reflecting Officers’
          planning for policing the Protests, and any spreadsheets or other lists of “scheduled”
          and “unscheduled” events during the time period surrounding each Protest
8(c)      News clips, social media postings, and internet links gathered by the NYPD, including
          but not limited to such information and records gathered or created by the Office of
          the Deputy Commissioner for Public Information, the Intelligence Division, or
          otherwise, related to any Protest;
8(d)      Requests for detail, Operations Unit (including Detail Section) records, “204s”,
          “Who’s Who,” “Force Figures,” “Detail Overview,” roll calls, tactical plans, detail
          rosters, assignment sheets, internal communications, and other documents) concerning
          NYPD’s deployment or assignment of Officers and resources relating to the Protests
8(e)      Command Log(s) and other records created as a result of or related to the operation
          any Incident Command Post utilized in connection with policing a Protest;
8(f)      Records reflecting whether and, if so, by whom, when, and to what extent, dispersal
          orders or other warnings and opportunities to disperse or comply were given before
          enforcement action was taken at each Protest where force was used or detentions or
          Arrests were made
7
 Plaintiffs have separately inquired about Defendants’ search for IAB files that were not previously produced to
DOI or OAG.

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8(l)    TRI Reports, and any and all Incident Worksheets (PD370-154), and any and all TRI
        Incident-Investigating Supervisor’s Assessment Reports (PD370-154A), any and all
        TRI Interaction Reports, all Unusual Incident Reports, including any and all other
        Documents relating to such reports and worksheets;
9(c)    Online Booking System Arrest Worksheet (PD244-159) (including
        handwritten/scratch version);
11      Mass Arrest Reports
14      Documents concerning incidents under investigation by Defendants.
22      Documents pertaining to the Corporation Counsel report.


         Lastly, as should be apparent from the above, Plaintiffs wish to emphasize that no
documents appear to have been collected from the OTM or any other agency of Defendant City
aside from the NYPD, CCRB, and DOI. While Defendants have advised that they are collecting
and reviewing ESI communications from OTM, Plaintiffs see no reason why the productions to
date have not included any non-ESI documents from the office of one of the primary defendants
in this litigation. Please be prepared at our meet and confer to address this core deficiency,
including what searches for responsive documents have been performed, when they were
performed, and whether any responsive documents have been identified and/or withheld.
       III.       Missing CCRB Files

       Plaintiffs also note the absence of files pertaining to a number of CCRB investigations
from Defendants’ August production of open and closed CCRB files. Specifically, we were
unable to locate any files pertaining to the following CCRB investigations that should have been
included in Defendants’ production:
                 CCRB # 202004278 (Rayne Valentine)
                 CCRB# 202004705 (Colleen McCormack-Maitland)

       As Plaintiffs’ review of these files remains ongoing, Plaintiffs may identify further
omissions of responsive CCRB files and reserve their right to add to this list at that time.
       IV.        Request for Immediate Meet & Confer

        We request an immediate meet & confer on Defendants’ failure to produce these
documents. To ensure that the parties’ conferral is meaningful, Defendants must bring persons
specifically knowledgeable about the nature, extent, and methods Defendants have engaged in
searches for documents responsive to the Requests. Please advise of your availability to confer
on Monday or Tuesday of next week.
                                                     Sincerely,
                                                     /s/ Travis England
                                                     Travis W. England
                                                     Deputy Bureau Chief
                                                     Civil Rights Bureau

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